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WE'VE ONLY JUST BEGUN WEDDING
CHAPEL, INC., et al.,

Plaintiffs,
CV-S-02-1384-JCM-LRL

Vv.

THE LITTLE WHITE WEDDING CHAPEL,
INC., et al.,

Defendants.

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Before the court is defendant The Little White Wedding Chapel, Inc.’s Motion to Strike
Supplemental Report of Expert Robert Mroz (#83, filed March 16, 2004). The court has considered
the motion, Opposition (465), Reply (#114), and Exhibits (filed separately under seal) (484 and 104).

Plaintiff timely disclosed Robert Mroz as an expert on January 5, 2004. Because discovery
was ongoing, Mr. Mroz reserved his right to update his analysis. Defendant <imely disclosed Dr.
Stephen Dagan as a rebuttal expert on January 19, 2004. On February 26, 2004, defendant received
Mr. Mroz’s supplemental report (or “the Report”). Defendant contends that the Report should be
stricken because it is untimely, it is not a proper supplemental disclosure within the meaning of
Fed.R.Civ.P. 26(e)(1), and it impermissibly rebuts Dr. Cogan’s Survey Expert Report.

Rule 26(e)(1) provides for the supplementation of expert disclosures. “Supplementation under
the Rule[] means correcting inaccuracies, or filling the interstices of an incomplete report based on

information that was not available at the time of the initial disclosure.” Keener v. United States, 181

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F.R.D. 639, 640 (D.Mont, 1998). Defendant contends that the Report cannot be classified as
“supplemental” because it sets forth an entirely new methodology for calculating damages under an
unsupported “contribution margin” theory’ based upon information plaintiff had during its initial
disclosure.

Even though plaintiffacknowledges that the Report utilizes information it had during its initial
disclosure, plaintiff contends that its initial disclosure was incomplete. See id, (“Unless the [party]
is conceding that the [initial] disclosure ... is inaccurate or incomplete, the second disclosure is not a
proper supplemental disclosure as allowed under Rule 26(e)(1).”}- Plaintiff contends that it was not
until after the initial disclosure deadline that defendant produced certain additional documents that
enabled Mr. Mroz to make an assessment of the claim for lost profits as set forth in the Report. Thus,
although Mr. Mroz only had partial documentation necessary to conduct a complete analysis on the
theory (but enough information to assert the theory), he supplemented the report so as to provide
notice to defendant that Dr. Degnan’s assumption that plaintiff would not be seeking lost profits was
incorrect. Given the lack of complete documentation, Mr. Mroz was forced to conduct an analysis
based on an assumption that all sales were infringing. This analysis incidentally happened to rely on
evidence plaintiff had in its possession when the initial report was disclosed.

Under these circumstances, the court finds that exclusion of the Report is not a proper remedy.
Mr. Mroz’s initial report was incomplete. Mr. Mroz’s supplemental report complied with the
disclosure requirements of Rule 26(e}(1) and was made available to defendant within a reasonable

time after plaintiff had received the relevant information. Cf Childress v. Lumber, Inc., 357 F.3d

' According to plaintiff, this theory is recognized under trademark law and allows plaintiff to seek recovery of
profits earned by defendant that are attributable to the infringement. Defendant contends that plaintiff’s theory seeks
“double recovery from Defendant” and is not an accepted theory of recovery under the Lanham Act or general tort
law. Reply (#114) at 4. This order does not purport to resolve whether plaintiff's damages thzory is an acceptable one

in this case.

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1000, 1010 (9"" Cir. 2004). Furthermore, Dr. Degnan had ample opportunity to review the Report and
provide an opinion on the Report during his deposition.

Defendant contends, however, that he will be prejudiced if the Report is admitted because he
did not have the opportunity to depose Mr. Mroz after the new theory had been asserted. Defendant
contends that it originally chose not to depose Mr. Mroz because his initial disclosure was
straightforward and defendant did not feel that a deposition would be a useful allocation of its
resources. Defendant claims that it would have noticed a deposition but it did no: have adequate time
to do so since it only received the Report two business days before the end of discovery. The court
recognizes that the Report came about as a result of information revealed from discovery caused by
defendant’s delay in producing the documents. Nevertheless, because plaintiff now asserts an
alternative damages theory to which defendant adamantly takes exception, the court will give
defendant the opportunity to depose Mr. Mroz.

Lastly, the court finds that Mr. Mroz did not provide improper rebuttal opinion to Dr. Sandra
Cogan’s Survey Expert Report. Mr. Mroz merely referenced the report in his Report.

Accordingly, and for good cause shown,

IT IS ORDERED ‘that defendant The Little White Wedding Chapel, Inc.’s Motion to Strike
Supplemental Report of Expert Robert Mroz (#83) is GRANTED, but only to the following extent:
Mr. Mroz’s Report will be admitted subject to plaintiff producing Mr. Mroz for a deposition not later

than June 7, 2004.

DATED this 21" day of May, 2004.

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LAWRENCE R. LEAVITT
UNITED STATES MAGISTRATE JUDGE

